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             UNITED STATES COURT OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC.; PLASTIC
SERVICES AND PRODUCTS, LLC d/b/a
GENOVA PIPE; MICROKITS, LLC;
FISHUSA INC.; and TERRY PRECISION
CYCLING LLC;

             Plaintiffs,

      v.
                                            Before: Gary S. Katzmann, Judge
THE UNITED STATES OF AMERICA;
                                                    Timothy M. Reif, Judge
UNITED STATES CUSTOMS AND
                                                    Jane A. Restani, Judge
BORDER PROTECTION; PETE R.
FLORES in his official capacity as Acting
                                            Court No. 25-00066
Commissioner for United States Customs
and Border Protection; JAMIESON
GREER, in his official capacity as United
States Trade Representative; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; and HOWARD
LUTNICK, in his official capacity as
Secretary of Commerce;

             Defendants.



THE STATE OF OREGON; THE STATE
OF ARIZONA; THE STATE OF
COLORADO; THE STATE OF
CONNECTICUT; THE STATE OF
DELAWARE; THE STATE OF ILLINOIS,            Before: Gary S. Katzmann, Judge
THE STATE OF MAINE; THE STATE OF                    Timothy M. Reif, Judge
MINNESOTA; THE STATE OF NEVADA;                     Jane A. Restani, Judge
THE STATE OF NEW MEXICO; THE
STATE OF NEW YORK; and THE STATE            Court No. 25-00077
OF VERMONT;

             Plaintiffs,

      v.
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 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY; KRISTI NOEM,
 in her official capacity as Secretary of the
 Department of Homeland Security; U.S.
 CUSTOMS AND BORDER PROTECTION;
 PETE R. FLORES in his official capacity as
 Acting Commissioner for United States
 Customs and Border Protection; and THE
 UNITED STATES OF AMERICA;

                Defendants.



                                           JUDGMENT

                                                                             Dated: May 28, 2025

       In accordance with the court’s opinion of this date, it is hereby

       ORDERED that Executive Order 14193, Imposing Duties To Address the Flow of Illicit

Drugs Across Our Northern Border, 90 Fed. Reg. 9113 (Feb. 1, 2025); Executive Order 14194,

Imposing Duties To Address the Situation at Our Southern Border, 90 Fed. Reg. 9117 (Feb. 1,

2025); Executive Order 14195, Imposing Duties To Address the Synthetic Opioid Supply Chain

in the People’s Republic of China, 90 Fed. Reg. 9121 (Feb. 1, 2025); Executive Order 14257,

Regulating Imports with a Reciprocal Tariff to Rectify Trade Practices that Contribute to Large

and Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15041 (Apr. 2, 2025)

(collectively, the “Challenged Tariff Orders”); and all modifications and amendments thereto; be,

and hereby are, declared to be invalid as contrary to law; it is further

       ORDERED that the operation of the Challenged Tariff Orders and all modifications and

amendments thereto be, and hereby is, permanently enjoined; it is further
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       ORDERED that within 10 calendar days necessary administrative orders to effectuate the

permanent injunction shall issue; and it is further

       ORDERED that each party shall bear its own costs.

                                                                By the panel.


Dated: May 28, 2025
       New York, New York
